        Case 2:23-cm-00227 Document 1 Filed 12/06/23 Page 1 of 6 Page ID #:1




 1   E. MARTIN ESTRADA
     United States Attorney
 2   MACK E. JENKINS
     Assistant United States Attorney
 3   Chief, Criminal Division
     JONATHAN GALATZAN
 4   Assistant United States Attorney
     Chief, Asset Forfeiture and Recovery Section
 5        1400 United States Courthouse
          312 North Spring Street
 6        Los Angeles, California 90012
          Telephone: (213) 894-2727
 7        Facsimile: (213) 894-0142
          E-mail:    Jonathan.Galatzan@usdoj.gov
 8
 9   Attorneys for
     UNITED STATES OF AMERICA
10
                         UNITED STATES DISTRICT COURT
11
                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
                                WESTERN DIVISION
13
14    IN RE MATTER OF CERTAIN                CR. Misc. No. 2:23-cm-00227
      CIVIL FORFEITURE PROCEEDINGS
15
                                             EX PARTE APPLICATION TO EXTEND
16                                           CAFRA DEADLINE
17
                                             [PROPOSED]
18                                           ORDER LODGED HEREIN
19
20
21
          Pursuant to 18 U.S.C. § 983(a)(3)(A), plaintiff United
22
     States of America (the “government”) respectfully applies to
23
     this Court for an order extending to February 29, 2024, the time
24
     in which the United States is required to initiate judicial
25
     forfeiture proceedings against assets now within the custody of
26
     the United States that are described in Attachment “A” (“the
27
     Subject Assets”).
28
                                         1
           Case 2:23-cm-00227 Document 1 Filed 12/06/23 Page 2 of 6 Page ID #:2




 1          In support of its stipulated motion, the United States
 2   respectfully states as follows:
 3          The United States, through either the United States Drug
 4   Enforcement Administration (“DEA”) or United States Customs and
 5   Border Protection (“CBP”), has seized and commenced
 6   administrative forfeiture proceedings against the Subject
 7   Assets.
 8          In the course of those administrative forfeiture
 9
     proceedings, either DEA or CBP sent written notice of its intent
10
     to forfeit each of the Subject Assets to all known persons that
11
     may have an interest in each of the Subject Assets, as required
12
     by Title 18, United States Code, Section 983(a)(1)(A).
13
            Between approximately September 8, 2023 and September 13,
14
     2023, Adriana Jones (“Administrative Claimant”) filed claims
15
     against the Subject Assets in administrative forfeiture
16
     proceedings that either DEA or CBP has commenced against each of
17
     the respective Subject Assets. The United States did not know
18
     any of the Administrative Claimants to have an interest, or
19
     purported interest, in any of the Subject Assets before the
20
     Administrative Claimants filed their claims.
21
            The United States understands that the Administrative
22
     Claimants assert claims as to each of the Subject Assets based
23
24   on:

25          (1) A judgment Administrative Claimants obtained against

26   the Juarez Cartel in the District of North Dakota (D.N.D. 1:20-

27   cv-00132) after members of the Juarez Cartel ambushed and killed

28
                                            2
        Case 2:23-cm-00227 Document 1 Filed 12/06/23 Page 3 of 6 Page ID #:3




 1   nine United States citizens in Mexico and injured several
 2   others;
 3        (2)   An assertion that the Terrorism Risk Insurance Act
 4   (“TRIA”), Title 28, United States Code, Section 1610 gives the
 5   Administrative Claimants a right to execute their judgment
 6   against assets of the Juarez Cartel; and
 7        (3) A claim that each of the Subject Assets is such an
 8   asset of the Juarez Cartel that is subject to execution or
 9
     attachment under TRIA.
10
          In addition to the claims Administrative Claimant has filed
11
     against the Subject Assets in this District, Administrative
12
     Claimant has filed hundreds of additional claims—totaling
13
     approximately 780 claims—as to assets that the United States has
14
     seized in various parts of the country on this same basis.
15
          No other party filed a claim as to any of the Subject
16
     Assets in the respective administrative forfeiture matters
17
     pertaining to each of the Subject Assets, and, under Title 18,
18
     United States Code, Section 983(a)(2)(A)-(E), the time for any
19
     person to do so has expired.
20
          After a claim was filed in the administrative proceeding
21
     against each of the Subject Assets, the seizing agency, either
22
     DEA or CBP, transmitted that claim to the United States
23
24   Attorney’s Office for the purpose of initiating a judicial

25   forfeiture action against each of the respective Subject Assets.

26        Title 18, United States Code, Section 983(a)(3) provides:

27   Not later than 90 days after a claim has been filed, the

28   Government shall file a complaint for forfeiture in the manner
                                         3
        Case 2:23-cm-00227 Document 1 Filed 12/06/23 Page 4 of 6 Page ID #:4




 1   set forth in the Supplemental Rules for Certain Admiralty and
 2   Maritime Claims or return the property pending the filing of a
 3   complaint, except that a court in the district in which the
 4   complaint will be filed may extend the period for filing a
 5   complaint for good cause shown or upon agreement of the parties.
 6   18 U.S.C. § 983(a)(3).
 7        The 90-day deadlines for filing a timely civil forfeiture
 8   complaint against the various Subject Assets that have been
 9
     referred to the United States Attorney’s Office for this
10
     judicial district range from on or about December 7, 2023 to on
11
     or about December 12, 2023.
12
          The United States Attorney’s Office is currently evaluating
13
     the factual and legal bases for (a) its potential civil
14
     forfeiture complaints and (b) Administrative Claimant’s claims
15
     as to each of the Subject Assets.
16
          The Administrative Claimant’s filing of approximately 780
17
     claims, within a short time frame, has resulted in an
18
     unprecedented number of referrals of administrative forfeiture
19
     matters to United States Attorney’s Offices for consideration of
20
     commencing judicial forfeiture actions. The Administrative
21
     Claimant’s claims have been referred, or are in the process of
22
     being referred, to more than 50 United States Attorney’s
23
24   Offices. Given the scope of the claims submitted by the

25   Administrative Claimant, any response the United States makes in

26   this District is likely to impact litigation in other districts

27   across the country. This unusually high volume of cases referred

28   as a result of Administrative Claimant’s claims will therefore
                                         4
        Case 2:23-cm-00227 Document 1 Filed 12/06/23 Page 5 of 6 Page ID #:5




 1   take additional time to review—especially as to whether
 2   Administrative Claimant has a legally cognizable interest in
 3   each of the Subject Assets that they have claimed.
 4        The United States is also engaging in discussions with
 5   Administrative Claimant regarding a potential resolution to
 6   their claims as to each of the Subject Assets.
 7        As set forth in the Agreement to Extend the Filing
 8   Deadline, which is attached as Attachment B, Administrative
 9
     Claimant and the United States have agreed to extend the time
10
     within which the United States may timely file a judicial
11
     forfeiture proceeding    against the Subject Assets to give the
12
     parties sufficient time to try to resolve these matters before
13
     the United States files or declines to file any such a judicial
14
     forfeiture action. Attachment B, ¶ 5.
15
          Specifically, Administrative Claimant has knowingly,
16
     intelligently, and voluntarily given up any right they may have
17
     under Title 18, United States Code, Section 983(a)(3)(A)-(B) to
18
     require the United States to file a judicial forfeiture against
19
     the properties on or before the deadlines referenced in
20
     paragraphs 9-10, and any right that they may have to seek
21
     dismissal of any civil judicial complaint on the ground that it
22
     was not timely filed. Id., ¶ 6.
23
24        The Administrative Claimant has further agreed to extend

25   the deadline by which the United States may timely file a

26   judicial forfeiture against any of the Subject Assets until

27   February 29, 2024. Id., ¶ 8.

28
                                         5
        Case 2:23-cm-00227 Document 1 Filed 12/06/23 Page 6 of 6 Page ID #:6




 1        Under Title 18, United States Code, Section 983(a)(3)(A),
 2   “a court in the district in which the civil forfeiture complaint
 3   will be filed may extend the period for filing a complaint for
 4   good cause shown or upon agreement of the parties.” 18 U.S.C. §
 5   983(a)(3)(A).
 6        Based upon the agreement between the United States and the
 7   Administrative Claimant and for good cause shown, the United
 8   States respectfully requests that the Court enter an order,
 9
     consistent with the United States’ agreement with Administrative
10
     Claimant, that extends through February 29, 2024, the period
11
     within which the United States may timely file a judicial
12
     forfeiture proceeding against any or all of the Subject Assets.
13
14
     DATED: December 6, 2023           E. MARTIN ESTRADA
15                                     United States Attorney
                                       MACK E. JENKINS
16
                                       Assistant United States Attorney
17                                     Chief, Criminal Division

18                                     ____/s/__________________________
                                       JONATHAN GALATZAN
19                                     Assistant United States Attorney
20                                     Chief, Asset Forfeiture and
                                       Recovery Section
21
                                       Attorneys for Plaintiff
22                                     United States of America
23
24
25
26
27
28
                                         6
